           Case 3:13-cr-04045-MMA                        Document 82               Filed 02/11/14             PageID.310                Page 1 of 2

      "<>.AD 245B (CASD) (Rev. 1112) Judgment in a Criminal Case
                 Sheet 1
                                                                                                                                   i- II
                                               UNITED STATES DISTRICT COUl\{fEB \ I Pt4 2: 45
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                                  ,
                                                                                                                     ':,   .,       ,            t -;-::.

                      UNITED STATES OF AMERICA                                     JUDGMENT IN A CRiMiNAL CASm')tZ
                                         v.                                        (For Offenses Committed On or After November 1, ~98g)

                 EDGAR ALBERTO LOPEZ-ORTEGA (04),                                   Case Number: 13CR4045-MMA
                                                                                    Benjamin L. Coleman
                                                                                    Defendant's Attorney
     REGISTRATION NO. 40761298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) ONE OF THE INFORMATION
     o     was found guilty on count(s)_ _~_ _ _ _ _ _ _ _ _ _ _ _~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty ofsuch count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                          Nature ofOffense                                                                             Number(s)
21 :841(a)(I); 18:2                     Possession of Marijuana with Intent to Distribute, Aiding and Abetting                              1




         The defendant is sentenced as provided in pages 2 through     L--- of this judgment. The sentence is imposed pursuant
  o
  to the Sentencing Reform Act of 1984.
       The defendant has been found not guilty on count(5) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  o   Count(s)                                                                       is   0     areD dismissed on the motion of the United States.
  181 Assessment: $100.00 WAIVED

  181 Fine waived                                    o    Forfeiture pursuant to order filed                                    , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notifY the court and United States Attorney ofany material change.itt1li7<iefendant's economic circumstances.




                                                                               UNITED STATES DISTRICT JUDGE



                                                                                                                                                13CR4045-MMA
     Case 3:13-cr-04045-MMA                       Document 82           Filed 02/11/14    PageID.311           Page 2 of 2

AO 2458 (CASD) (Rev. 1/12) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                           Judgment -   Page   2    of       2
 DEFENDANT: EDGAR ALBERTO LOPEZ-ORTEGA (04),
 CASE NUMBER: 13CR4045-MMA
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a tenn of
         TIME SERVED



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.        on _ _ _ _ _ _ _ _ _ _ __
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before -----------------------------------------------------------------------
       o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at _______________ , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL

                                                                   By ____________________                         ~--------




                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                   13CR4045-MMA
